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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION


BRADLEY A. CHICOINE, D.C., DR. BRADLEY
A. CHICOINE, D.C., P.C., MARK A. NILES,
D.C, NILES CHIROPRACTIC, INC., ROD R.
REBARCAK, D.C., and BEN WINECOFF, D.C.,
on behalf of themselves and those like situat-
ed,
      Plaintiffs,
and                                                       No. 4:17-cv-00210
STEVEN A. MUELLER, D.C., BRADLEY J.
BROWN, D.C., BROWN CHIROPRACTIC,
P.C.; MARK A. KRUSE, D.C., DR. MARK A.
KRUSE, D.C., P.C., KEVIN D. MILLER, D.C.,
and LARRY E. PHIPPS, D.C., on behalf of
themselves and those like situated,
      Plaintiffs,
vs.
WELLMARK, INC d/b/a WELLMARK BLUE
CROSS AND BLUE SHIELD OF IOWA, an Io-
wa corporation, and WELLMARK HEALTH
PLAN OF IOWA, INC., an Iowa corporation,
      Defendants.



                       Plaintiffs’ Motion for Remand


        COME NOW Plaintiffs, and pursuant to 28 U.S.C. § 1447(c), hereby move to

remand this civil action to the Iowa District Court for Polk County, where it was former-

ly pending, on the basis that this Court lacks original jurisdiction of the subject matter


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                                                                              EXHIBIT 6
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under 28 U.S.C. § 1332(a) or (d). Remand is required in the absence of jurisdiction and

any doubts regarding removal should be resolved in favor of remand:

        As the Eighth Circuit has noted: “The requirement that jurisdiction be es-
        tablished as a threshold matter springs from the nature and limits of the
        judicial power of the United States and is inflexible and without excep-
        tion.” Godfrey v. Pulitzer Publ'g Co., 161 F.3d 1137, 1141 (8th Cir.1998) (ci-
        tations omitted). If a court is in doubt about whether removal is appropri-
        ate, the case should be remanded to state court. See Matheson v. Progres-
        sive Specialty Ins. Co., 319 F.3d 1089, 1090 (9th Cir.2003) (“Where doubt
        regarding the right to removal exists, a case should be remanded to state
        court.”); In re Bus. Men's Assurance Co. of Am., 992 F.2d 181, 183 (8th
        Cir.1993); Steel Valley Auth. v. Union Switch and Signal Div., 809 F.2d
        1006, 1010 (3d Cir.1987) (“It is settled that the removal statutes are to be
        strictly construed against removal and all doubts should be resolved in fa-
        vor of remand.”)

Owings v. Deere & Co., 441 F. Supp. 2d 1011, 1014 (S.D. Iowa 2006). As the removing

party, Defendants bear the burden of proving jurisdiction. McNutt v. General Motors

Acceptance Corp., 298 U.S. 178, 189 (1936). With these strictures in mind, Plaintiffs

state the following grounds and reasons in support of remand:

   I.        THE STATE COURT CLASS ACTION DOES NOT HAVE A
             PLAINTIFF CLASS ACTION MEMBER WHOSE CITIZENSHIP IS
             DIFFERENT FROM ANY DEFENDANT.


   1. 28 U.S.C. § 1332(d)(2) states: “The district courts shall have original jurisdiction

        of any civil action in which the matter in controversy exceeds the sum or value of

        $5,000,000, exclusive of interest and costs, and is a class action in which (A) any

        member of a class of plaintiffs is a citizen of a State different from any defendant .

        . . .”

   2. Both Defendants named in the original petition are Iowa corporations with their

        principal places of business at 1331 Grand Avenue, Des Moines, Iowa. [Petition at
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      Law ¶¶ 10 & 11] Blue Cross and Blue Shield Association (“BCBSA”) has never

      been named a defendant. [Petition, ¶ 12; First Amendment to Petition, ¶ 1(b)]

3. The class for which representation is sought is defined in ¶ 18 of the Petition:

               “all chiropractors licensed in Iowa (1) who are citizens of Iowa
               as of the date of filing of this petition, or, (2) where citizens of
               Iowa on May 20, 2008, the date of the pleading in Mueller et
               al v. Wellmark, Inc., et al, Law No. 107471, (Polk Co., Iowa,
               Dist. Ct., pleading asserting class action filed May 20, 2008),
               which tolls the statute of limitations for the Provider Plaintiffs
               and proposed provider plaintiff class in this case for all times
               after May 20, 2004, which is four years prior to the filing of
               the Plaintiffs’ First Amendment to Petitioner for Damages, for
               Permanent Injunction and for Declaratory Judgment in the
               Mueller case (Iowa R. Civ. P. 1.277), or, (3) who have been citi-
               zens of Iowa at all times during their Iowa licensure as doctors
               of chiropractic after May 20, 2008, each of whom have been
               damaged in their businesses by defendants’ actions described
               below (the “Class”).”
In other words, the class is limited to chiropractic physicians who are citizens of Io-

wa at the times of the filings of the two class action petitions described.

4. Accordingly, 28 U.S.C. § 1332(d)(2)(A) does not grant this Court original jurisdic-

      tion of the subject matter because there is no member of the proposed class of

      plaintiffs who is a citizen of a state different from any defendant.

II.      SEC. 1332(d)(4) PROHIBITS EXERCISE OF FEDERAL
         JURISDICTION.

5. Further grounds for remand are found in 28 U.S.C. § 1332(d)(4), under which a

      district court must decline to exercise jurisdiction over class actions under para-

      graph (2) [28 U.S.C. § 1332(d)(2)] in two circumstances, both of which apply

      here.
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6. 28 U.S.C. § 1332(d)(4)(B) prohibits exercise of jurisdiction “when two-thirds or

   more of the members of all proposed plaintiff classes in the aggregate, and the

   primary defendants, are citizens of the State in which the action was originally

   filed.” The same is true here, thus requiring remand.

7. Additionally, 28 U.S.C. § 1332(d)(4)(A) prohibits exercise of jurisdiction where

   greater than two-thirds of the members of all proposed plaintiff classes in the ag-

   gregate are citizens of the State in which the action was originally filed; at least 1

   defendant is a defendant from whom significant relief is sought by members of

   the plaintiff class, whose alleged conduct forms a significant basis for the claims

   asserted by the proposed plaintiff class; and who is a citizen of the State in which

   the action was originally filed; and principal injuries resulting from the alleged

   conduct or any related conduct of each defendant were incurred in the State in

   which the action was originally filed. All of these factors are present here, again

   requiring remand.

III.   WELLMARK’S NOTICE OF REMOVAL IS UNTIMELY.

8. Defendants Wellmark, Inc. d/b/a Wellmark Blue Cross and Blue Shield of Iowa,

   and Wellmark Health Plan of Iowa, Inc. (“Wellmark”) filed their Notice of Re-

   moval on June 14, 2017. The record shows that the Petition at Law was filed in

   Iowa District Court for Polk County on October 15, 2015. [Ex. B to Loc. R. 81.A

   filing] Return of Service shows that service was accepted as to both defendants by

   Hayward L. Draper, counsel for defendants, on October 6, 2015. [Ex. C to Loc. R.

   81.A filing]


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9. 28 U.S.C. § 1446(b)(1) states: “The notice of removal of a civil action or proceed-

   ing shall be filed within 30 days after the receipt by the defendant, through ser-

   vice or otherwise, of a copy of the initial pleading setting forth the claim for relief

   upon which such action or proceeding is based, or within 30 days after the service

   of summons upon the defendant if such initial pleading has then been filed in

   court and is not required to be served on the defendant, whichever period is

   shorter.” Any such time period expired on November 5, 2015.

10. Wellmark cites no case law for its argument removal was timely instead under 28

   US.C. § 1446(b)(3) (“if the case stated by the initial pleading is not removable, a

   notice of removal may be filed within 30 days after receipt by the defendant,

   through service or otherwise, or a copy of an amended pleading, motion, order or

   other paper from which it may first be ascertained that the case is one which is or

   has become removable”). This provision does not apply to support timely inter-

   vention.

11. BCBSA is not a defendant. Its Motion to Intervene, filed June 14, 2017, is not a

   pleading. IOWA R. CIV. P. 1.431(1) and 1.401; FED. R. CIV. P. 7(a). BCBSA’s inter-

   vention request does not make it a defendant and there is no court order granting

   the same. “The right of removal is generally determined from the record and the

   status of the pleadings at the time the petition for removal is filed.” Palmquist v.

   Conseco Med. Ins. Co., 128 F. Supp. 2d 618, 621 (D.S.D. 2000) (citing Farm Bu-

   reau Mutual Insurance Co., Inc. v. Eighmy, 849 F.Supp. 40, 42 (D.Kan.1994)

   (which cites American Fire Cas. Co. v. Finn, 341 U.S. 6, 14 (1951)); Marquette

   Nat'l Bank of Minneapolis v. First Nat'l Bank of Omaha, 422 F. Supp. 1346, 1349
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       (D. Minn. 1976). In short, the Motion to Intervene did not trigger section

       1446(b)(3), and removal was not proper.

    12. Moreover, the underlying basis for both BCBSA’s Motion to Intervene and

       Wellmark’s Notice of Removal relies entirely on allegations in the Petition at Law.

       Wellmark claims BCBSA is a “primary defendant in this matter” whom it alleges

       Plaintiffs should have named in the beginning1. (See Notice of Removal, Doc. 1 at

       ¶¶ 2, 7, 8, 9). As such, Wellmark also cannot credibly argue it “first ascertained”

       the case was allegedly removable based on BCBSA’s Motion to Intervene.

    13. Accordingly, Wellmark’s Notice of Removal is untimely under 28 U.S.C. §

       1446(b)(1) or (3), and the case should be remanded.

    IV.   PLAINTIFF’S FIRST AMENDMENT TO PETITION TAKES ALL
          ALLEGATIONS OF BCBSA HORIZONTAL TERRITORIAL
          ALLOCATION OUT OF THE CASE.


    14. Plaintiffs filed a First Amendment to Petition at Law in the Iowa District Court

       for Polk County on June 14, 2017 at noon (12:00 p.m.). Under Iowa R. Civ. P.

       1.402(4), the First Amendment was deemed filed without leave of court because

       the defendants had not served and filed a responsive pleading to the original Peti-

       tion. [Ex. LL to Loc. R. 81.A filing]

    15. Wellmark did not file their Notice of Removal of Civil Action in Iowa District

       Court for Polk County until June 14, 2017 at 12:53 p.m. Thus, the Petition togeth-



1 Moreover, those allegations are not part of the Amended Petition at Law, which was
the operative petition at the time Wellmark filed its Notice of Removal as explained in
part IV below, and thus further underscores why this case should be remanded. BCBSA
is not a primary defendant as outlined in part V below.
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   er with First Amendment to Petition contain Plaintiffs’ operative allegations. As

   previously stated, what matters is the status of the record and pleadings at the

   time the notice of removal is filed. (See ¶ 11 above citing Palmquist, 128 F. Supp.

   2d at 621 and others).

16. The First Amendment strikes:

      a. ¶ 3(b) of the Petition regarding horizontal territorial allocation;

      b. The first sentence of ¶12 stating “The Blue Cross and Blue Shield Associa-

           tion is a non-party co-conspirator with the Wellmark defendants for pur-

           poses of the Iowa Competition Act.”

      c. ¶ 15. Plaintiffs allege as substituted ¶15 as follows: “15. By agreements be-

           tween Wellmark defendants and each of the other 38 (now 36) BCBSA li-

           censees, Wellmark processes and pays Iowa providers for out-of-state li-

           censees member claims for provider services for each of the other BCBSA

           licensees. Wellmark defendants have agreed with each of the other licen-

           sees to fix the price of Iowa chiropractic services in accordance with the

           prices set by Wellmark defendants under terms of the Practitioner Services

           Agreements and the agreement with Iowa Chiropractic Physicians Clinic.”;

      d. ¶ 21(b) of the Petition regarding horizontal territorial allocation;

      e. ¶ 39(b) of the Petition regarding horizontal territorial allocation;

17. Contrary to ¶¶ 2 and 7 of the Wellmark Notice of Removal, Plaintiffs do not allege

   that Wellmark conspired with BCBSA to price fix the fees paid to Iowa chiroprac-

   tors.


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V.      THIS LAWSUIT IS ABOUT A HORIZONTAL CONSPIRACY LEAD
        BY WELLMARK TO FIX THE PRICE PAID FOR IOWA CHIRO-
        PRACTIC SERVICES AT AN ARTIFICIALLY LOW LEVEL COM-
        PARED TO THE PRICE PAID FOR IOWA MD/DO, PHYSICIAN AS-
        SISTANT OR NURSE PRACTITIONER SERVICES. THERE IS NO
        ALLEGATION IN THE PETITION THAT BCBSA HAS ANY ROLE IN
        THE PRICES PAID FOR IOWA CHIROPRACTIC SERVICES. BCBSA
        IS NOT A PRIMARY DEFENDANT.


18. At several places in the Petition at Law, beginning in ¶ 3, the conspiracy is stated:

     “In its essence, this Petition alleges that Wellmark Defendants have, by contract,

     conspiracy and other unlawful means, conspired and combined to:

        a. enter into agreements with other potential price competitors to artificially

           fix a lower price for chiropractic services and to limit or exclude chiroprac-

           tic coverage from health plans offered by other potential competitors for

           chiropractic services in Iowa.

        b. [allegation stricken by First Amendment to Petition]

        c. impose maximum fee schedules to which chiropractors must agree with

           defendants, their co-conspirators, and with each other in order to provide

           diagnostic and treatment services for their patients in Iowa;

        d. prescribe fees for chiropractic services which are discriminatory to doctors

           of chiropractic in relation to the fees for other health care practitioners for

           the same or similar services;

        e. prescribe limitations upon and make optional the coverage of diagnostic

           and treatment services of chiropractors while not imposing the same

           standards and practices to the coverage of diagnostic and treatment ser-


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      vices of other practitioners of health care in Iowa licensed under the chap-

      ters of Title IV, subtitle 3, of the Code of Iowa [Chapters 147 through 158];

   f. historically enter into a contract, combination and conspiracy in restraint

      of trade or commerce in Iowa with health care providers other than chiro-

      practors to first boycott and then later discriminate against the diagnostic

      and treatment services to members provided by Iowa chiropractors

   g. Beginning in approximately 2007, Wellmark Defendants attempted to im-

      plement for itself and its co-conspirators a policy by which their subscrib-

      er-patients who elected to seek chiropractic treatment would be covered

      for only three treatment procedures per visit to a doctor of chiropractic re-

      gardless of the acuity, severity, or nature of the patient’s condition or the

      number of her complaints;

   h. Beginning in approximately 2007, Wellmark Defendants announced and

      attempted to implement for itself and its co-conspirators a policy by which

      subscriber-patients and those persons who were employees of self-funded

      entities administered by Wellmark Defendants would be required to seek

      preapproval of an agent of the Wellmark Defendants before any chiroprac-

      tic services would be paid, which policy solely related to chiropractic ser-

      vices and to no other services of any other health care practitioner licensed

      by the state of Iowa;

   i. Wellmark Health Plan of Iowa, Inc. (“WHPI”) and its co-conspirators have

      implemented a plan solely related to Iowa chiropractors and to no other

      health care practitioner licensed in Iowa whereby Iowa chiropractors only
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          are subject to a capitated payment system whereby chiropractors are paid

          at rate less than 50% of the rate payable for PPO services, while all other

          Iowa licensed practitioners covered by WHPI are paid pursuant to a

          schedule derived from the PPO payment schedules with a 7-9% discount.

19. These allegations of horizontal conspiracy are also found in the Petition at Law at

   ¶ 21 and ¶ 39. Paragraph 39(g) makes a further allegation: “According to the Ad-

   ministrative Services Agreement of Wellmark Blue Cross and Blue Shield of Iowa,

   the co-conspirator self-funded entities pay a monthly Network Access Fee to

   Wellmark, which is the amount charged to the self-funded entity to gain the col-

   lective advantages of the network of providers with which Wellmark, any Host

   Blue, or any subcontractor has contracted for the providing for appropriate pro-

   vision of covered services. Section 1.16. According to Section 3.1(b), one of

   Wellmark’s obligations to the self-funded entity is to “provide access to networks

   of providers and . . . make information about the networks available to members

   through print, the Internet, and/or telephone service.” Section 3.1(e) says:

   “Wellmark shall determine benefits and process claims for health services fur-

   nished members in accordance with the terms, limitations and conditions set

   forth in the plan, the benefit documents, this agreement, applicable laws and reg-

   ulations, the terms of the applicable provider agreement, and the claims admin-

   istrations and medical policies of Wellmark, as amended from time to time.” Part

   of the Network Access Fee is a percentage of Network Savings, which is “the

   amount saved due to contract between Wellmark or another Blue Cross or Blue

   Shield Plan and health care providers.” Wellmark processes claims for the self-
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   funded entity through a plan called BlueCard, which is described in Article 9 of

   the Administrative Services Agreement. The Host Blue, in accordance with appli-

   cable BlueCard policies, is responsible for providing such services as contracting

   with its participating providers and handling all interaction with its participating

   providers. Section 9.2.

20. None of the above specifications of violation of the Iowa Competition Act, Iowa

   Code 553.4, make any allegation of BCBSA price fixing in Iowa.

VI.    THE THINLY-VEILED GOAL OF WELLMARK AND BCBSA IN THE
       MOTION TO INTERVENE AND THE NOTICE OF REMOVAL IS GET
       THIS LAWSUIT INTO FEDERAL COURT AND THEN HAVE THE
       JUDICIAL PANEL ON MULTIDISTRICT LITIGATION REMOVE IT
       TO MDL 2406 IN THE NORTHERN DISTRICT OF ALABAMA,
       WHERE IT WILL LANGUISH FOR YEARS BECAUSE IT DOES NOT
       FIT INTO THE MAINSTREAM MASTER COMPLAINTS ON FILE IN
       MDL 2406.


21. After the Petition at Law in this case was filed on October 5, 2017, the defendants

   did not file an Answer or seek removal to federal court, but rather filed a Motion

   to Stay on December 4, 2015. [Ex. D to Loc. R. 81.A filing], on appeal, the Iowa

   Supreme Court, Chicoine v. Wellmark, Inc., 894 N.W.2d 454, 456 (Iowa 2017),

   stated:

             “On the defendants’ motion, and over the plaintiffs’ objection,
             the district court stayed the case in its entirety pending fur-
             ther proceedings in federal multidistrict litigation (MDL) in
             Alabama brought under the federal antitrust laws. See 15
             U.S.C. §§ 1, 4 (2012). The Alabama MDL includes physicians,
             hospitals, and other healthcare providers from around the
             country as plaintiffs. As in the present case, the plaintiffs al-
             lege conspiracies by the insurers to fix prices and allocate
             markets. However, the MDL complaint alleges that the con-

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            spiracies have had the effect of driving down all healthcare
            provider reimbursements to artificially low levels. One of the
            plaintiffs in the Alabama MDL is an Iowa chiropractor and
            one of the defendants is Iowa’s largest health insurer.
            “On interlocutory review, we conclude the district court
            abused its discretion in staying the Iowa litigation pending
            further proceedings in the Alabama MDL. Resolution of the
            Alabama MDL, which is still in bellwether pretrial proceed-
            ings, could take years, and although there is some overlap be-
            tween the two cases, there are also considerable differences in
            the issues they present. Accordingly, we vacate the order stay-
            ing this action and remand for further proceedings.”
22. For the same reasons that the Iowa Supreme Court held that the granting of an

   indefinite stay was an abuse of discretion, the overruling of this Motion for Re-

   mand would create the same delays after the JPML removes the case to the

   Northern District of Alabama, because this case does not fit into the Master

   Complaints filed in MDL 2406:

              “As in Landis, the stay in this case serves to prolong the deci-
              sion-making process for years without adequately protecting
              or advancing the plaintiffs' interest in receiving a prompt de-
              cision. At a minimum, the stay will last until 2018—the earli-
              est date the bellwether cases could precede to trial under the
              current scheduling order in MDL No. 2406. In all likelihood,
              the stay could last several years or even a decade or more as
              the bellwether cases and the consolidated federal case in-
              volving the Iowa plaintiff move through their trial and appel-
              late stages. Such a lengthy and indefinite stay violates the
              plaintiffs' interest in prompt and complete justice. Cf. First
              Midwest Corp., 663 N.W.2d at 891. The stay does not be-
              come moderate simply because the plaintiffs could petition
              the court to enter an order ending the stay or because the
              court could end the stay sooner of its own accord. See Lan-
              dis, 299 U.S. at 257, 57 S. Ct. at 167.


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                 “Furthermore, any benefit of a decision in MDL No. 2406
                 advancing the resolution of this case is uncertain for several
                 reasons. First, if MDL No. 2406 is resolved under a per se or
                 quick-look theory, it will provide little or no benefit to the
                 economic and econometric analyses in the Iowa plaintiffs'
                 rule-of-reason claim. Second, the federal court in MDL No.
                 2406 has adopted a bellwether approach, making it more
                 likely that the Iowa portion of MDL No. 2406 will settle be-
                 fore trial or even pretrial proceedings, thus removing many
                 of the potential benefits of a stay in this case. See In re Chev-
                 ron U.S.A., Inc., 109 F.3d 1016, 1019 (5th Cir. 1997) (“The
                 notion that the trial of some members of a large group of
                 claimants may provide a basis for enhancing prospects of
                 settlement or for resolving common issues or claims is a
                 sound one that has achieved general acceptance by both
                 bench and bar.”). The bellwether cases involve Alabama
                 plaintiffs, and it is possible that competitive conditions in Al-
                 abama may have no connection to those in Iowa.
                 “Finally, as the district court found, the plaintiffs raised ap-
                 proximately “ten detailed specifications of wrongdoing” con-
                 cerning Wellmark's treatment of Iowa chiropractors while
                 MDL No. 2406 focused on two allegations concerning the
                 BCBSA's treatment of all healthcare providers. Although
                 there appears to be an allegation common to both cases that
                 the BCBSA entities have generally conspired to stay out of
                 each other's territories (i.e., Iowa and South Dakota in the
                 case of Wellmark), the present case alleges discriminatory
                 treatment of chiropractors instead of artificially low reim-
                 bursements for all healthcare providers. In addition, the pre-
                 sent case alleges other anticompetitive agreements, including
                 between Wellmark and self-insurers. It is unclear in our view
                 whether any resolution of claims in MDL No. 2406 would re-
                 sult in the resolution of claims in this action. See Landis, 299
                 U.S. at 256, 57 S. Ct. at 166 (noting a stay may be justified in
                 favor of a case with nonidentical issues if “in all likelihood it
                 will settle many and simplify them all”).”
Chicoine v. Wellmark, Inc., 894 N.W.2d at 461-62.


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   VII.    CONCLUSION

       Based on the foregoing, Defendants have not satisfied their burden to prove this

Court has jurisdiction of the subject matter, nor was their notice of removal timely. The

case should be remanded to state court.

       WHEREFORE, plaintiffs, pursuant to 28 U.S.C. § 1447(c), pray that this Court

grant and sustain plaintiffs’ Motion for Remand and remand this civil action to the Iowa

District Court for Polk County, where it was formerly pending, on the basis that this

Court lacks original jurisdiction of the subject matter under 28 U.S.C. § 1332(a) or (d)

and furthermore that Wellmark’s Notice of Removal was untimely under 28 U.S.C. §

1446(b).

       Dated June 20, 2017.
                                          __/s/ Glenn L Norris___________
                                          Glenn L. Norris AT0005907
                                          HAWKINS & NORRIS, P.C.
                                          2501 Grand Avenue, Suite C
                                          Des Moines, Iowa 50312-5399
                                          Telephone: 515-288-6532
                                          Facsimile: 515-281-1474
                                          Email: gnorris@2501grand.com
                                                 gnorrislaw@gmail.com

                                          /s/ Kara M. Simons
                                          Steven P. Wandro AT0008177
                                          Kara M. Simons AT0009876
                                          WANDRO & ASSOCIATES, P.C.
                                          2501 Grand Avenue, Suite B
                                          Des Moines, Iowa 50312
                                          Telephone: 515-281-1475
                                          Facsimile: 515-281-1474
                                          Email: swandro@2501grand.com
                                                  ksimons@2501grand.com

                                          ATTORNEYS FOR PLAINTIFFS
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                                        CERTIFICATE OF SERVICE
I hereby certify I or someone acting on my behalf, on June 20, 2017, presented the foregoing document to
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Benjamin P. Roach
Hayward L. Draper
NYEMASTER GOODE, P.C.
700 Walnut Street, Suite 1600
Des Moines, IA 50309
Telephone: (515) 283-3100
Facsimile: (515) 283-8045
E-mail: bproach@nyemaster.com
E-mail: hdraper@nyemaster.com
ATTORNEYS FOR WELLMARK

Jeffrey A. Krausman
Joan M. Fletcher
DICKINSON, MACKAMAN, TYLER
& HAGEN, P.C.
699 Walnut Street, Suite 1600
Des Moines, IA 50309
Telephone: (515) 246-4525
Facsimile: (515) 246-4550
Email: jkrausman@dickinsonlaw.com
Email: jfletcher@dickinsonlaw.com
ATTORNEYS FOR BCBSA


                                                  __/s/ Kara M. Simons___________




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